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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                   Plaintiffs,

v.
                                            Case No. 1:20-cv-03010-APM
GOOGLE LLC,
                                            HON. AMIT P. MEHTA
                   Defendant,

      and

APPLE INC.,

                   Amicus Curiae.


STATE OF COLORADO, et al.,

                   Plaintiffs,

v.                                          Case No. 1:20-cv-03715-APM

                                            HON. AMIT P. MEHTA
GOOGLE LLC,

                   Defendant,

      and

APPLE INC.,

                   Amicus Curiae.


            APPLE INC.’S RESPONSE TO THE JOINT STATUS REPORT
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I.       INTRODUCTION

         On March 24, 2025, the parties filed a Joint Status Report urging—contrary to this Court’s

order permitting Apple to participate as an amicus—that “amicus affidavits should not be relied

on because, among other things, they are inadmissible hearsay,” and, “to the extent they are

allowed, the Court should set a deadline of April 18, 2025, for their submission.” Dkt. No. 1196

at 5.

         Apple respectfully disagrees. This Court has already decided that Apple may file affidavits

as part of its amicus submission, and the Federal Rules of Evidence permit the Court to consider

such affidavits. See Dkt. No. 1153 at 19 (granting Apple permission “to participate as amicus

curiae” and to “submit affidavit[s]”); Fed. R. Evid. 807 (codifying the residual exception to the

hearsay rule). As for the submission deadline, this Court’s previous order granting Apple amicus

status expressly contemplated that Apple could submit “an affidavit from one additional fact

witness that addresses facts not covered by Mr. Cue’s testimony.” Dkt. No. 1153 at 19. There is

no way for Apple to submit such an affidavit if, as the parties urge, this Court orders it be filed

before Mr. Cue takes the stand. Apple respectfully requests that it be permitted to submit an

affidavit supplementing Mr. Cue’s testimony up to and including May 9, 2025.1

II.      ARGUMENT

         A.     Apple’s Affidavits Are Admissible

         Assuming Mr. Cue testifies at trial, Apple plans to submit—in accordance with this Court’s

prior order—one additional affidavit from either John Giannandrea, Apple’s Senior Vice President



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 Apple understands that Google intends to call Mr. Cue as a witness at the remedies hearing. If
Google does not call him to testify, then Apple requests that both of the “affidavits from fact
witnesses” that this Court has allowed Apple to submit be due on or before May 9, 2025. What is
more, because Google could decide not to call Mr. Cue as a witness after April 18, 2025, at a
minimum Mr. Cue’s affidavit cannot be due before that date.


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of Machine Learning and AI Strategy, or Adrian Perica, Apple’s Vice President of Corporate

Development. If Mr. Cue does not testify, Apple plans to submit an affidavit from Mr. Cue, as

well. See Dkt. No. 1153 at 19 (permitting Apple to submit two affidavits if Mr. Cue does not

testify).

        Under the Federal Rules of Evidence, the affidavits by Apple provided for in this Court’s

prior order are admissible. The residual exception to the hearsay rule provides that, “[u]nder the

following conditions, a hearsay statement is not excluded by the rule against hearsay.” Fed. R.

Evid. 807(a). To fall within the exception, the statement must: (1) be “supported by sufficient

guarantees of trustworthiness—after considering the totality of circumstances under which it was

made and evidence, if any, corroborating the statement,” (2) must be “more probative on the point

for which it is offered than any other evidence that the proponent can obtain through reasonable

efforts,” and (3) “is admissible only if the proponent gives an adverse party reasonable notice of

the intent to offer the statement—including its substance and the declarant’s name—so that the

party has a fair opportunity to meet it.” Fed. R. Evid. 807(a)-(b). This exception “was designed

to encourage the progressive growth and development of federal evidentiary law by giving courts

the flexibility to deal with new evidentiary situations which may not be pigeon-holed elsewhere.”

United States v. Slatten, 865 F.3d 767, 806 (D.C. Cir. 2017) (quotations and citation omitted).

        Rule 807 well supports this Court’s decision to allow Apple to submit affidavits as part of

the remedies hearing. First, the “totality of circumstances” will provide “sufficient guarantees of

trustworthiness.” Fed. R. Evid. 807(a)(1). Both Mr. Cue and Mr. Giannandrea testified during the

liability phase, during which this Court had the opportunity to assess their credibility. And this

Court’s liability decision relied repeatedly on the testimony of both Apple witnesses. See Dkt.

1033 at 25, 31, 43, 46, 102-04, 107-09, 111-13, 115, 122, 160, 201, 232, 243-44 (relying on Mr.




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Cue’s testimony); see also id. at 13-15, 19-20, 23, 35-37, 50-52, 102, 104-05, 107, 115, 157-58,

237, 241, 243 (relying on Mr. Giannandrea’s testimony). As this Court explained at the Status

Conference Proceedings held on January 17, 2025, it “heard what Mr. Cue had to say,” and “heard

what Mr. Giannandrea had to say,” and “credited both of their testimonies” regarding Apple’s

business priorities. Tr. 41:9-11; see also Dkt. No. 1153 (noting that the Court “largely credited”

the information Apple presented “during the liability phase”). As for Mr. Perica, although he was

not a witness during the liability phase, he was deposed by the parties, and Plaintiffs had the

opportunity to cross-examine him. Any affidavits that Apple submits as part of the remedies phase

will be made under penalty of perjury. What is more, Mr. Cue, Mr. Giannandrea, and Mr. Perica

were each document custodians subject to extensive discovery in both the merits and remedies

phases.     Affidavits from any of them therefore can be corroborated by contemporaneous

documents, and the parties have had an opportunity to both seek and review those materials.

          Second, Apple’s proposed affidavits are “more probative on the point for which [they] are

offered than any other evidence that the proponent can obtain through reasonable efforts.” Fed.

R. Evid. 807(a)(2). This Court’s order granting Apple amicus status already accounts for this

second prong of the residual hearsay analysis. By permitting the introduction of an affidavit to

address only “facts not covered by Mr. Cue’s testimony,” Dkt. No. 1153 at 19, the information

contained in Apple’s affidavit will necessarily be “more probative . . . than any other evidence”

Apple could present. And if Mr. Cue does not testify, Apple’s affidavits will be more probative

than evidence Apple could otherwise present because Apple has no other ability to submit evidence

for this Court’s consideration during the remedies phase.

          Third, to the extent that existing parties are “adverse” to Apple, they have “reasonable

notice” of Apple’s “intent to offer” affidavits, as well as the “substance” of those affidavits and




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the names of any declarants. Fed. R. Evid. 807(b). In early February 2025, Apple provided to

both Plaintiffs and Google a list of its potential affiants for the remedies hearing, and Apple

reaffirms that list with this filing. It is also no secret what Apple wants this Court to consider in

crafting a fair and effective remedial decree. Through its affiants, Apple is prepared to explain

that no matter what remedy this Court orders, Apple will not develop its own general search engine

to compete with Google. See Dkt. No. 1111-1 (Declaration of Eddy Cue). In addition, to the

extent these issues are not covered at the remedies trial, Apple is prepared to present information

concerning: (1) the harm to Apple’s users and Apple if Google is not a search option on Apple

devices or if Apple is forced to distribute Google for free and (2) how rapid and ongoing

developments in artificial intelligence affect Apple’s decision-making regarding search and the

experience of its users. See id.

       In short, this Court’s previous order allowing Apple to submit affidavits from fact

witnesses comports with Rule 807, which contemplates the introduction of statements that are

trustworthy and probative, so long as other parties have notice. Apple’s proposed affidavits readily

meet these requirements. The parties offer no explanation for why Apple’s affidavits would be

inadmissible beyond labeling them as hearsay. Dkt. No. 1196 at 5. And although they now fight

Apple’s introduction of affidavits from fact witnesses, Plaintiffs previously argued to the D.C.

Circuit that “Apple can also exercise the substantial participation rights the district court granted

it, beyond those of a normal amicus, to voice its view.” Response Brief of Plaintiffs-Appellees,

United States, et al. v. Google, No. 25-5016 (D.C. Cir. Feb. 26, 2025); see also id. 19 (highlighting

that Apple need not intervene because it was given “opportunities not normally accorded to

amici”). Plaintiffs indeed expressly referenced Apple’s ability to submit affidavits: “Apple will

be permitted to submit affidavits as an amicus.” Id. at 24. Now that Apple has lost that appeal,




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Plaintiffs seek to undercut the very arguments they presented to the D.C. Circuit. If this Court is

inclined to change its view based on the parties’ new and cursory evidentiary objections, Apple

respectfully requests the opportunity to fully brief the issue.

       B.      Apple’s Affidavits Should Be Due On May 9, 2025

       The parties’ request that Apple submit any affidavits by April 18, 2025—prior to the start

of the remedies hearing—does not accord with this Court’s order granting Apple amicus status.

This Court expressly provided that “[i]f Mr. Cue is called to testify at the evidentiary hearing,

Apple may also submit an affidavit from one additional fact witness that addresses facts not

covered by Mr. Cue’s testimony.” Dkt. 1153 at 19 (emphasis added). There is, of course, no way

for Apple to know for certain whether Mr. Cue will be called, nor for Apple to know precisely

what facts Mr. Cue will testify to until he takes the stand. Per this Court’s order granting Apple

amicus status, any additional affidavit Apple submits must be due after Mr. Cue testifies so that

Apple can identify what facts his testimony has already addressed and what additional information

would be most useful for the Court. And to the extent that Mr. Cue is not called—a decision that

Google could make after April 18—it is obviously critical that Apple remain able to adjust its

affidavits accordingly.

       The parties’ contrary proposal is also unworkable and inefficient. Apple currently has no

access to the exhibits, expert reports, or deposition testimony developed in the remedies discovery

phase, and it has no way of knowing what testimony Plaintiffs and Google intend to offer on the

issues affecting Apple’s interests. Accordingly, Apple can only adequately address these issues

after hearing the evidence presented publicly at trial. Requiring Apple to submit affidavits before

the parties present their evidence, as Plaintiffs and Google suggest, would essentially be asking

Apple to shoot in the dark.




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III.    CONCLUSION

        In accordance with its prior order granting Apple amicus status, this Court should find that

the Federal Rules of Evidence permit Apple’s introduction of affidavits from fact witnesses and

provide that such affidavit(s) be filed on or before May 9, 2025. Apple would welcome the

opportunity to provide further briefing on these issues to the extent it would be helpful.



Dated: March 26, 2025

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